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                Exhibit 1
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Presentación de resultados


2019 - 2020
JUNTA ADMINISTRADORA
AD HOC DE PDVSA
                          Case 1:20-mc-00257-LPS Document 38-1 Filed 04/16/21 Page 3 of 75 PageID #: 1410




AGENDA
 PDVSA
  • Antecedentes
  • Objetivos 2019
  • Junta Administradora ad hoc de PDVSA
  • Nynas A.B. y otros activos
  • Relación de los activos con EE. UU.
  • Bonos PDVSA 2020
  • Crystallex y otros casos en Delaware, EE. UU.
  • Presupuesto de defensa de activos

  ENTIDADES DE CITGO
  • Estabilidad financiera
  • Estabilidad operacional
  • Protección de activos
  • Gobernanza corporativa
  • Investigaciones

  EL ROL DE PDVSA EN EL FUTURO DE VENEZUELA

  CONCLUSIONES FINALES
                                                Case 1:20-mc-00257-LPS Document 38-1 Filed 04/16/21 Page 4 of 75 PageID #: 1411




ANTECEDENTES

   CREACIÓN DE LA JUNTA ADMINISTRADORA AD HOC DE PDVSA
   (8 DE FEBRERO 2019)
     Cinco directores
     Tomar control de PDV Holding, Inc. / CITGO Holding, Inc. / CITGO Petroleum
     Corporation

   AMPLIACIÓN DE LA JUNTA ADMINISTRADORA AD HOC Y SUS FACULTADES
   (10 DE ABRIL DE 2019)
     Ampliación a 9 directores (manteniendo 4 de los directores originales)
      - Tomar control de las filiales de PDVSA constituidas en el exterior (2.1)*
      - Ordenar pagos para extinción de obligaciones (2.2)*
      - Ejercer representación legal de PDVSA y sus filiales – con las atribuciones
     de la asamblea de accionistas
     Presupuesto y recursos técnicos sin definición
* Decreto No.3, Presidencia (e) de la República Bolivariana de Venezuela
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OBJETIVOS 2019
En conjunto con la Procuraduría Especial de la República, se definen los
objetivos prioritarios en un espacio temporal que se vislumbraba fuera
máximo de un semestre
Junta Administradora ad hoc representando a PDVSA como accionista
de PDV Holding, Inc. / CITGO
Bonos PDVSA 2020
Litigios en el Tribunal de Distrito de Delaware (todos pretenden acceder a CITGO)
 - Caso Crystallex
 - Caso Owens Illinois
 - Caso Saint-Gobain
 - Caso Tidewater
 - Caso ConocoPhillips

Relación con el Departamento del Tesoro (OFAC)
Laudo de Petrozuata – ConocoPhillips
Nynas A.B.
                           Case 1:20-mc-00257-LPS Document 38-1 Filed 04/16/21 Page 6 of 75 PageID #: 1413




JUNTA ADMINISTRADORA AD HOC
MODO DE FUNCIONAMIENTO

Debido a la dispersión geográfica de sus miembros, y la falta de recursos,
las reuniones son virtuales, una vez por semana o de manera
extraordinaria cuando la situación así lo amerite – Quorum de cinco de sus
miembros (artículo 10, decreto No. 3)

Presidente de la Junta Administradora ad hoc actúa como representante
ante terceros y suscribe documentos necesarios para ejercer los derechos
que corresponden a PDVSA y a sus empresas filiales (…) (articulo 8, ibid)

La representación judicial y extra judicial de PDVSA y sus filiales directas e
indirectas (…) corresponderá exclusivamente al Procurador Especial
(artículo 11, ibid)

Con poco o ningún apoyo presupuestario de operación
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      SITUACIÓN INICIAL NYNAS A.B.

                   Nynas A.B. es un sistema de refinería de crudos de
    PDVSA          especialidades en el mercado del norte de Europa.
                   PDVSA ha sido socio desde 1986
         100%
                   Sujeta a las sanciones de la OFAC (Orden Ejecutiva
PROPERNYN B.V.     13850, 1 de noviembre de 2018) al PDVSA tener mayoría
   (Holanda)       accionaria
         100%      El 28 de enero de 2019, a instancias del Gobierno
PDV Europa B.V.    Legítimo, la OFAC emite Licencia General 13 (GL13) que
  (Holanda)        le permite a Nynas seguir operando bajo ciertas
                   restricciones – expira el 27 de julio de 2019
         50.001%
                   Al igual que CITGO los riesgos de su situación financiera
  AB NYNÄS         y relaciones comerciales estaban sujetas a la
   (Suecia)        temporalidad de la duración de las licencias
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NYNAS A.B.*
     ABRIL 2019 - 2020…               2019 -2020…                                        2020
     Múltiples                       Octubre 2019: con                               Abril 2020: la                                     Titularidad y Estructura
     actuaciones en                  la Procuraduría                                 OFAC extiende
     coordinación con la             Especial de la                                  la GL13E (30                                    de Gobernanza de Nynas A.B.
     Comisión                        República se                                    días) para
     Permanente de                   procura con la                                  permitir
     Energía y Petróleo,             OFAC, la                                        finalizar                                          NESTE          NYNÄSSTIFTELSEN    PDVSA
     el Centro de                    renovación de la                                restructuración
     Gobierno y las                  licencia General
     representaciones                GL13D para darle
                                                                                     Mayo 2020:
     diplomáticas en                 flexibilidad de
     Suecia y Holanda                operación a                                     Nynas anuncia
     para lograr la toma             Nynas hasta abril                               restructuración
     de control, vía el              2020 - no puede                                 accionaria
     reconocimiento en               comprar crudo                                   (acordado con
     Holanda, de la                  venezolano                                      PDVSA La
     legitimidad de la                                                               Campiña). La
     Junta                           13.12.2019: Nynas                               OFAC anuncia                                     49.999%             35.003%        14.999%
     Administradora ad               anuncia que entra                               levantamiento
     hoc de PDVSA –                  en proceso de                                   de sanciones                                 Fuente: Nynas A.B.
     Finalmente                      reorganización
     infructuosas                    financiera

* Reporte a la Asamblea Nacional sobre Nynas A.B., 25.05.2020
                                            Case 1:20-mc-00257-LPS Document 38-1 Filed 04/16/21 Page 9 of 75 PageID #: 1416




OTROS ACTIVOS DE INTERÉS



                                                        PDVSA                                                                   PDVSA ISLA
     PDV CARIBE S.A.*                                 AMÉRICA S.A*                                                            DE CURAZAO B.V.




   Refinería Petrojam                                 PDVSA Argentina                                                         Contrato de operación
   Jamaica - expropiada                               PDVSA Bolivia                                                           de la Refinería Isla de
   Refidomsa PDV                                      PDVSA Ecuador                                                           Curacao
   República Dominicana                               PDVSA Paraguay
                                                      Entre otros…


* Compañías registradas en Venezuela, filiales de PDVSA
                                       Case 1:20-mc-00257-LPS Document 38-1 Filed 04/16/21 Page 10 of 75 PageID #: 1417




        RELACIÓN CON ACTIVOS EN EE. UU.
   Entidades en Venezuela
                                      En febrero de 2019 la Junta Administradora ad hoc de PDVSA
                                      nombra las juntas de PDV Holding, Inc., CITGO Holding, Inc. y
      Representada por la
  Junta Administradora ad hoc         CITGO Petroleum Corporation
        POSEE EL 100% DE




Entidades en Estados Unidos          Como dueño del 100% de las acciones de PDV Holding, Inc., la Junta
                                     Administradora ad hoc de PDVSA ejerce labor de accionista de acuerdo a las
                                     leyes del estado de Delaware, EE. UU.
        POSEE EL 100% DE              Garantizar autonomía de operación de acuerdo a las leyes que rigen las
                                      compañías privadas en EE. UU.
                                      Nombramiento de las juntas directivas de las filiales PDVSA registradas en
                                      Delaware como compañías privadas
        POSEE EL 100% DE
                                      Rendición de cuentas trimestral de filiales ante la Junta Administradora ad hoc
                                      de PDVSA
                                      Coordinación de defensa de los activos con las juntas directivas de
                                      PDV Holding, Inc. y CITGO Petroleum Corporation
              POSEE


                                    Desde que fueron nombradas las juntas directivas de las filiales de PDVSA,
                                    se han ganado todas las demandas en su contra en las cortes de Delaware,
  Tres Refinerías y otros activos
                                    EE. UU., ratificando así la legitimidad de esos nombramientos.
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SITUACIÓN ENCONTRADA EN EE. UU.

 PRINCIPALES RIESGOS
  Bonos PDVSA 2020 emitidos por PDVSA en condiciones de invalidez en 2016,
  teniendo como garantía el 50.1% de las acciones de PDV Holding, Inc. en CITGO
  – única deuda sin cesación de pagos y con pago de intereses de corto plazo (27
  de abril de 2019)

  Demanda de Crystallex en Delaware por deuda de la República, pidiendo el
  embargo de las acciones de PDVSA en PDV Holding, Inc. - El tribunal había ya
  fallado en contra de la República en 2018 – en proceso de apelación

  PDV Holding, Inc. y sus filiales (CITGO) bajo el efecto de las sanciones de la
  OFAC (DoT) y operando con una licencia de corto plazo

  CITGO con un perfil de deuda de alto riesgo y habiendo perdido el suministro
  de crudo venezolano
                                                       Case 1:20-mc-00257-LPS Document 38-1 Filed 04/16/21 Page 12 of 75 PageID #: 1419




PDVSA 2020*
    2016                   ABRIL 2019              MAYO 2019                                    OCTUBRE                                     OCTUBRE 2019                 JULIO 2020
                                                                                                AGOSTO 2019
                                                                                                                                          Tenedores tienen pocos        La Jueza
 PDVSA ofrece            Remanente de            07.05.19:                                 Análisis de                                    incentivos ya que tenían      Polk Failla
 canje de deuda y        la deuda es de          Asamblea                                  opciones                                       licencia para ejecutar la     decide
 emite nuevos            $1.683                  Nacional aprueba                          financieras para                               garantía (GL5)                posponer el
 bonos conocidos         millones                el pago de                                enfrentar pago en                                                            argumento
                                                                                                                                          15.10.19: Asamblea
 como: “8.50%                                    intereses bajo                            octubre 2019                                                                 oral para el
                                                                                                                                          Nacional ratifica su
 Senior Secured          27.04.19:               protesta                                                                                                               22.09.20 en
                                                                                                                                          criterio sobre invalidez de
                         obligación de                                                     Conversaciones                                                               espera de la
 Notes due 2019”                                                                                                                          la emisión
                         pago de                 15.05.19: la Junta                        con tenedores                                                                opinión
                         intereses: $71.5        Administradora ad                         que insisten en                                21-24.10.19: continúan        solicitada al
 Se da como              millones – 30           hoc de PDVSA                                                                             conversaciones con
                                                                                           pago capital e                                                               Gobierno de
 garantía el 50.1%       días de                 realiza el pago                           intereses                                      tenedores, sin éxito**        EE. UU.
 de las acciones         período de              bajo protesta                                                                            24.10.19: la OFAC emite
 de CITGO                gracia                                                            Ante la falta de                               GL5A, bloqueando la
 Holding Inc.,                                   Fondos provienen                          liquidez y                                     capacidad de los
 propietaria de                                  de cuentas por                            cercanía de fecha                              tenedores de ejecutar la
 CITGO Petroleum                                 pagar a PDVSA de                          de vencimiento,                                garantía
 Corporation                                     filial de PDVH                            PDVSA propone a
 Asamblea                                                                                  los tenedores de                               29.10.19: luego de
                                                 Pago hecho bajo                           bonos acordar un                               consultas y con la
 Nacional rechaza
                                                 licencia de la                            aplazamiento de                                aprobación de la
 validez de la
                                                 OFAC                                      pagos                                          Asamblea Nacional,
 emisión
                                                                                           (forbearance) de 3                             PDVSA y las filiales,
                                                                                           meses                                          introducen demanda en
                                                                                                                                          tribunal de New York
*   Fuente: Informe de Gestión 2019 de la Junta ad hoc, Dic 2019                                                                          buscando la invalidez de
** 27.10.19: se vencía un pago de $913 millones que de no hacerse generaba “default”                                                      la deuda y la garantía***
*** El juicio se lleva a cabo bajo la protección de la GL5D válida hasta 20.10.2020
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 CRYSTALLEX*
     2002-2011                   2016-2017                              2018                                                       2019-2020             2020
  2002 - Venezuela             2016 - Crystallex                   09.08.2018 - el Juez                                       La representación         Mayo 2020 - se
  firma contrato con           interpone acción de                 Stark dictaminó                                            legítima de PDVSA y       reanuda el juicio en la
  Crystallex                   arbitraje                           que la República y                                         la República              Corte de Distrito de
  International: mina          internacional contra                PDVSA son Alter                                            introducen apelación      Delaware
                               la República y gana                 Ego1 y, emite una                                          del veredicto
  de oro Las Cristinas
                               laudo de $1.200                     orden de embargo                                           Julio 2019 - la           Junio – julio 2020 - la
  2011 – Hugo Chávez           millones                            sobre las acciones                                         apelación es              República y PDVSA
                                                                   de PDV Holding,                                            desestimada en la         presentan mociones
  expropia la mina y
                               2017 - un tribunal en               Inc.                                                       corte del 3er Circuito    con el objetivo de
  con ello los derechos        Washington DC                                                                                  y reafirma la             rescindir el veredicto
  contractuales de             confirma el laudo a                 Noviembre 2018 -                                           decisión en               y/o evitar el embargo
  Crystallex                   favor de Crystallex                 el régimen acuerda                                         noviembre 2019            de las acciones de
                                                                   hacer un pago de                                           Febrero 2020 - se         PDVSA en PDVH
                               14.08.2017 -                        $500 millones a                                            introduce un recurso
                               Crystallex inicia                   Crystallex y esta                                          de “writ of certiorari”   Gobierno
                               acción en el estado                 pide suspensión de                                         en la Corte Suprema       norteamericano
                               de Delaware para                    actuaciones hasta                                          de EE. UU.                interviene en el juicio
                               obtener el pago                     enero 2019                                                                           a petición del juez y
                                                                                                                              Mayo 2020 - la Corte
                               mediante venta de                                                                              Suprema decide no         somete oficios de
                               acciones de PDVSA                                                                              revisar el caso           apoyo a la posición del
                               en PDVH                                                                                                                  Gobierno Legítimo

                                                                                                                                                        Audiencia final en
                                 1
                                  ALTER EGO: La República y PDVSA están tan interconectados                                                             curso
* Fuente: Informe de Gestión     que, según la ley de EE. UU., las acciones de PDVSA en PDVH
2019 de la Junta ad hoc,         deben tratarse como propiedad de la República.
Dic 2019
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OTROS CASOS EN DELAWARE
Varios acreedores han recibido laudos de arbitraje internacional contra Venezuela, que
ahora están tratando de hacer cumplir en EE. UU. y Canadá contra CITGO Petroleum
Corporation, CITGO Holding, Inc. y PDV Holding, Inc., además de PDVSA y la República:

 Crystallex International (compañía minera de oro canadiense): 1.2 mil millones de
 dólares más intereses
 ConocoPhillips (4 entidades COP involucradas en proyectos en la Faja del Orinoco):
 1.5 mil millones de dólares más intereses
 OI European Group B.V. (fabricante de envases de vidrio con sede en los Países Bajos,
 propiedad exclusiva de Owens-Illinois, Inc.): laudo de 378 millones de dólares más
 intereses
 Rusoro Mining Ltd. (compañía minera de oro canadiense): laudo de 971 millones de
 dólares más intereses


                 Estos casos están en suspenso a la espera de que finalice el caso
                 de Crystallex. En todo caso el juez* ha determinado que cada caso
                 debe probar individulamente el argumento del Alter Ego

* Chief Judge Leonard P. Stark, Corte del Distrito de Delaware, es el juez en todas las causas
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PRESUPUESTO DE DEFENSA DE ACTIVOS*
    Autorizaciones
    Acuerdo AN de abril de 2019: aprueba el pago de
    intereses de los Bonos PDVSA 2020 (USD 71.500.000)                                                                  Fuentes de fondos (acreencias a PDVSA)
    Acuerdo AN del 1 de octubre de 2019: que autorizó a
    ejecutar hasta dos millones de dólares (USD                                                                                      LDC Supply
                                                                                                                                                                PDV Chalmette
                                                                                                                                    International
    2.000.000,00),
    Acuerdo AN de 19 de noviembre de 2019: al crear el
    Fondo de Litigio, autorizó la disposición del remanente de
    USD 1,5 millones, conforme a la distribución de gastos que
    había informado esta Junta Administradora ad hoc a la                                                                   Junta Ad Hoc             CITGO            Licencias
    Comisión Permanente de Finanzas y Desarrollo                                                                               PDVSA                 Admin              OFAC

    Económico, el 4 de noviembre de 2019
    Acuerdo AN de 28 de enero de 2020: por el cual se
                                                                                                                            Procuraduría
    autoriza el uso de recursos hasta por la cantidad de USD                                                                  Especial
                                                                                                                                                    Tenedores
    20 millones, para el pago de honorarios profesionales y                                                                                          Bufetes
    gastos legales asociados a la protección, recuperación y
    control de activos de Venezuela en el extranjero


*Reportes a la Asamblea Nacional: abril de 2019, enero de 2020 , mayo de 2020, julio de 2020
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PORTAFOLIO

                                                                Además de EE. UU., PDVSA tiene activos
                                                                en varios países que deben ser
                                                                jerarquizados para recobrar –tomando en
                                                                cuenta su complejidad– potencial de
                                                                recobro, contribución financiera, apoyo
                                                                diplomático y político

                                                                Limitación de recursos financieros y
                                                                humanos han retrasado el enfoque de la
                                                                Junta Administradora ad hoc de PDVSA
                                                                en esta parte del portafolio

                                                                Hay además un sin número de demandas
                                                                a PDVSA y a la República en EE. UU., que
                                                                –aunque no son de gran envergadura–
                                                                deben continuar siendo atendidas
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ENTIDADES
DE CITGO
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     ACTIVOS - CITGO HOLDING, INC.
CITGO Holding, Inc. fue formada en febrero del año                                                     Terminales                            (miles barriles)
2015                                                                                                   East Chicago                                    4,273
                                                                                                       Linden                                          3,669

Es dueña del 100% de las acciones de CITGO                                                             Terminales mercadeo
                                                                                                       Albany                                           1,225
Petroleum Corporation                                                                                                                                    1,151
                                                                                                       Toledo
                                                                                                       Dayton                                             221
Adicionalmente es dueña de cinco terminales con
                                                                                                       Poliductos (% participación)               Promedio
capacidad de 10 millones de barriles         y con                                                     West Shore Pipeline Company (18.4%)             308
participación en poliductos para un promedio de                                                        Wolverine Pipeline Company (9.5%)               349
                                                                                                       Inland Pipeline Company (16.2%)                  152
transporte de casi 800 mil barriles por día.


La empresa fue creada por PDVSA para colocar como
colateral los activos y participación accionaria en
CITGO Petroleum Corporation para las emisiones de
CITGO 2015 (bono y préstamo) 2.200 millones de
dólares de dichas emisiones los envió como
“dividendos” a PDVSA.
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        ACTIVOS - CITGO PETROLEUM CORPORATION

CITGO Petroleum Corporation es una empresa refinadora con tres
refinerías ubicadas en tres estados distintos de EE. UU. – Es parte de
PDVSA desde 1986

Tiene una capacidad nominal de refinación de 769.000 bpd con
terminales marítimos de acceso internacional y conectividad al
sistema integrado de tuberías hacia el interior del país.
Factura alrededor de 26.000 millones de dólares (2019).
Empleados: 3.500 personas
Tiene participación o es dueña de 41 terminales con capacidad de 12
millones de barriles de productos y están ubicados a lo largo de 21
estados. De estos terminales, nueve tienen puertos con acceso al                                                          Refinería       Ubicación   Capacidad
                                                                                                                                                         bpd
agua. Por contratos con terceros tiene acceso a más de 120
terminales adicionales                                                                                                    Lake Charles    Louisiana    425,000

  La marca CITGO tiene 55 años y su logo esta presente en más de                                                          Corpus Cristi    Texas       167,000

  4.700 estaciones de servicio que son privadas, operadas por                                                             Lemont           Illinois    177,000
  terceros, y distribuyen gasolina, diésel y lubricantes.
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SITUACIÓN A FEBRERO 2019
    Designación de PDVSA, en enero 2019, como SDN¹
     La designación creó una incertidumbre para los entes financieros y comerciales que
     interactuaban con CITGO
     Suspensión de suministro de crudo de Venezuela a CITGO
     Licencia de la OFAC para operación de CITGO Petroleum Corporation con
     vencimiento en julio de 2019

    Riesgo por acciones que puedan ejercer los tenedores de Bonos PDVSA 2020
     PDVSA colocó como colateral el 50.1% de la participación accionaria de CITGO
     Holding, Inc. para asegurar las obligaciones contraídas con la emisión del bono por
     3.368 millones de dólares
     Intereses del Bono PDVSA 2020 por 71.5 millones de dólares a ser pagados en abril
     de 2019
     Principal e intereses por ~913 millones de dólares a ser pagados en octubre de 2020

¹ SDN : Specially Designated Nationals- la OFAC (Office of Foreign Asset Control) del Departamento del Tesoro
de Estados Unidos publica una lista de empresas o individuos cuyos activos en EE. UU. se bloquean y se prohíbe
a entidades de EE. UU. efectuar ninguna transacción con ellos
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SITUACIÓN A FEBRERO 2019
(Continuación)

    Reclamo de Crystallex en la Corte de Delaware, EE. UU.


    Fitch (agencia calificadora de riesgo crediticio) coloca la deuda de
    CITGO bajo vigilancia negativa1


    Vencimiento de facilidades de crédito 1er semestre de 2019 y
    rechazo de entidades financieras en refinanciar


    Dudas de que CITGO calificaba como una empresa solvente y en
    marcha debido al efecto de las sanciones, litigios y la posibilidad de ir a
    un “default” en marzo de 2019

1
    Negative Credit Watch
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ENTORNO Y OBJETIVOS ESTABLECIDOS
POR LAS NUEVAS JUNTAS DIRECTIVAS
                                                                                                                OBJETIVOS PRIMARIOS
                                  Sanciones a
                                     PDVSA.                                                                        Estabilidad
                                 CITGO parte de
      Incertidumbre                 una SDN                                                                        Financiera
       del Personal



                                                                                                                  Estabilidad
                         FEB 2019                                                                                 Operacional
                      Incertidumbre                             Inestabilidad
                        del futuro                               Financiera:
                                                                   Bancos
                      de la empresa                                                                                Protección
                                                               retiran crédito
Investigaciones                                                    rotativo                                        de Activos
 Departamento
   de Justicia


                           Inestabilidad                                                                          Gobernanza
                             Operativa:
                              Prepago                                                                             Corporativa
                            suministro
                               crudo
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      PRINCIPALES LOGROS 2019

              Refinanciamiento del 70% de la deuda de las entidades de CITGO ($3.090
              millones)
Estabilidad
              Opinión favorable de los auditores
Financiera    Mejora del riesgo crediticio
              Incremento en la capacidad de refinación en 20.000 barriles por día
              Incremento de 60% en el total de inversión y mantenimiento extraordinario
Estabilidad   respecto a 2018
Operacional   Record en procesamiento de crudos y exportación de productos en el 4to
              trimestre 2019
              Apoyo de EE. UU., a través de la OFAC, en emisión de licencias y extensiones
Protección    para la operación
de Activos    Modificación a las cláusulas de cambio de control accionario en los
              contratos de financiamiento

              Revisión de controles y reestructuración de posiciones de liderazgo
Gobernanza    Auditorías e investigaciones
Corporativa   Reestructuración del departamento legal y de cumplimiento
              Reestructuración del departamento de compra de materiales
              Nombramiento del Presidente Ejecutivo, VP de Legal, Director
              de Ética y Cumplimiento Normativo
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ESTABILIDAD
FINANCIERA
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FINANCIAMIENTO
2019
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DIVIDENDOS DECLARADOS Y PAGADOS 1997 - 2019
La política del régimen comprometió la capacidad financiera de CITGO
                                                                Deuda emitida por CITGO Holding, Inc.
                                                                para enviar dividendos a PDV Holding,
                                                                Inc. por 2.200 mil millones de dólares


                                  Dividendos pagados a PDV Holding, Inc.




                                                                                                                                          Dividendos acumulados, $MM
    Dividendos anuales, $MM




                                 Anual        Venta de activos              Deuda por dividendos                  Dividendos acumulados



En 2006, 2007 y 2008 CITGO vendió su participación en (1) Refinería Lyondell - CITGO, (2) el Sistema de
distribución en tuberías Explorer, Eagle y Colonial, y (3) CITGO - Asphalt (CARCO). Todos los recursos generados
de estas ventas de activos fueron enviados como dividendos a PDVSA (~2 mil millones de dólares)
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     SITUACIÓN FINANCIERA HEREDADA
     POR LA NUEVA JUNTA DIRECTIVA
             Titularización de   VENCIMIENTO
            cuentas por cobrar   JULIO 2019
              $320 millones
 $ 1.220                                                               Notas garantizadas
MILLONES                                                                $1.875 millones                                       Préstamo B               Notas
             Línea de crédito
                                 VENCIMIENTO                                                                                  garantizado           garantizadas
               rotativa por
                                 MAYO 2019                                                                                   $650 millones          $650 millones
              $900 millones




     2019                                         2020                                                                2021                   2022          CITGO HOLDING
                                                                                                                                                           CITGO PETROLEUM



                 Vencimiento en menos de 1-3 meses para instrumentos de liquidez
                 Urgente renovación por sanciones por relación con PDVSA
                 Pérdida de acceso al mercado financiero
                 Auditores externos subrayan dificultades en continuidad operacional
                 Calificación de riesgo a punto de ser rebajada
                 Riesgos operacionales y financieros por potencial incumplimiento del
                 Bono PDVSA 2020 y litigios en Delaware (Crystallex)
                                                           Case 1:20-mc-00257-LPS Document 38-1 Filed 04/16/21 Page 28 of 75 PageID #: 1435




FINANCIAMIENTO 2019
  MARZO 2019
 Reemplazo de las facilidades de crédito de 1.220 millones de dólares por un préstamo
 a plazo de 1.191 millones de dólares de CITGO Petroleum Corporation - vence 2024
  AGOSTO 2019
 Reemplazo del bono de 1.870 millones de dólares de CITGO Holding, Inc. por un
 préstamo a plazo de 499 millones de dólares - vence 2023 y bono por 1.370 millones
 de dólares vence 2024.
     3000



     2500                                                                                                                                          Deuda Nueva
                                            HoldCo                                                                                                   emisión
                                    Reemplazado con nuevo bono                                                                                     Agosto 2019
                                        y préstamo a plazo                                                                                                        HoldCo
     2000                                                                                                                                                          Bonos
                                                                                                                                                                  $1.370
                   OpCo
            Reemplazado con nuevo
     1500      préstamo a plazo
                                                                                                                                                   Deuda Nueva
                                                                                                                                                     emisión
                 AR $320                                                                                                                            Marzo 2019
     1000                                                                                                                                                         OpCo
                                                                                                                     Deuda Nueva emisión                          Préstamo
                                             Bonos                                                                       Agosto 2019                               a plazo
                                             $1.870                                                                                                                $1.191
      500                                                             OpCo                         OpCo
                                                                                                                              HoldCo
                                                                     Préstamo                       Bonos                                     Bonos indutriales
                 Resolver                                             a plazo                      $650
                                                                                                                              Préstamo

                                                                       $616
                                                                                                                               a plazo             $108
                  $900
                                                                                                                                $499
        0

                  2019                        2020                        2021                          2022                           2023             2023+                2024

OpCo: CITGO Petroleum Corporation                  HoldCo: CITGO Holding
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FINANCIAMIENTO 2019
Retos del Proceso

Obstáculos en el refinanciamiento de la Línea de Crédito Rotativa (Revólver) de 900
millones de dólares con vencimiento 1er semestre 2019

Inversionistas de la facilidad de crédito existente no querían renovar la línea por
incertidumbre respecto a las sanciones y por el riesgo de reputación de asociarse con
PDVSA

Los bancos de inversión con los que CITGO Petroleum Corporation había trabajado en
el pasado declinaron liderar, administrar o actuar como agentes de colateral

Se requería buscar con urgencia, dada la proximidad del vencimiento, un banco o
institución financiera que fuese líder, administrador o garante colateral, que tuviera
credibilidad en el mercado y que tuviese una cartera de clientes que le pudiese
interesar el sector de refinación
                                                              Case 1:20-mc-00257-LPS Document 38-1 Filed 04/16/21 Page 30 of 75 PageID #: 1437




          CITGO PETROLEUM CORPORATION
          Resultados 2019 – Flujo de caja
        $ MM
1,400                                                                                                                                 1,108      1,321


1,200
                               608
                                                      105
1,000

                                          (113)
 800
                                                                                                                                                                                          Efect Inicial    Efect Final
                                                                                                                                                                                           01 Enero       31 diciembre
                                                                                                                                                                                             2019              2019



 600                246                                          (442)                                                                                   Efectivo y equivalente              260           1.321
                                                                                    (25)                                                                 Efectivo restringido corriente       14             19
                                                                                                                                                         Efectivo restringido                 --             14

 400                                                                                                                                                                                         274          1.354
          260

                                                                                                    (283)
 200
                                                                                                                      (143)
   0
         Efectivo   Ingreso     Depr      Cambio      Cambio     Paradas      Otras    Gasto Cap                       Divid Financiamiento Efectivo
          Inicial     neto    y amont   Cta x cobrar inventario      y         actv    y Otras Inv                                Neto        final
                                        cta x pagar            catalaizador operativas
                                        Case 1:20-mc-00257-LPS Document 38-1 Filed 04/16/21 Page 31 of 75 PageID #: 1438




   CITGO PETROLEUM CORPORATION
   Mejoras en las calificaciones de riesgo crediticio en 2019

                                                                                         Febrero                              Julio     Septiembre         Actual
                                                                                          2019                                2019         2019          29.07.2020

                              Moody’s                                                          B-                             B-           B3                B3

                              FITCH                                                            BB                             BB           BB                BB
Perfil Stand Alone
                              Standard & Poor’s                                                BB-                            BB-          BB                B+

                              Moody’s                                                          B-                             B-           B3                B3
Emisor de Crédito
                              FITCH                                                            B                              B            B                 B
larga duración ¹
                              Standard & Poor’s                                                B-                             B-           B-                B-

                              Moody’s                                                     Estable                           Estable      Estable          Estable

Proyección a futuro           FITCH
                                                                             Vigilancia de crédito
                                                                                   negativa ²
                                                                                                                            Estable      Estable     Vigilancia de crédito
                                                                                                                                                           negativaª
                                                                                      Crédito en                           Crédito en
                              Standard & Poor’s                                       vigilancia ³                         vigilancia
                                                                                                                                         Estable          Estable


    ¹ Long Term Issuer           ³ Credit Watch
    ² Negative Credit Watch      ª Impacto COVID-19
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ESTABILIDAD
OPERACIONAL
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ENTORNO ENERGÉTICO 2018 VS. 2019
                             Reducción en el diferencial entre crudo liviano y pesado afecta
                             a refinerías de conversión como CITGO (Brent - Maya y WTI -
                             WCS)
                             Los crudos del Permian se apreciaron con respecto a Houston al
                             aumentar la capacidad de los oleoductos (2019) reduciendo el
                             margen en refinarlos.
                             Reducción en el margen de gasolina a crudo en refinerías del
                             golfo (USGC). La gasolina representa el 46% de lo producido,
                             compensado en parte por el diferencial de diésel con crudo.
                                                      Carga a refinerías, miles de barriles día
                                   Case 1:20-mc-00257-LPS Document 38-1 Filed 04/16/21 Page 34 of 75 PageID #: 1441




CITGO PETROLEUM CORPORATION
Resultados 2019 – Refinerías
 Margen bruto $/bbl                                                             Desembolso en gastos operacionales $/bbl




 Total procesamiento miles de barriles día                                      EBITDA. $MM

      427   41 3




                      215   19 4
                                             18 7    193
                                  Case 1:20-mc-00257-LPS Document 38-1 Filed 04/16/21 Page 35 of 75 PageID #: 1442




CITGO PETROLEUM CORPORATION
Resultados 2019
Variación adversa en casi todos los márgenes de refinación por condiciones de
mercado, afectando precios y volúmenes de venta lo cual afectó los ingresos
operacionales comparando 2018 vs. 2019
                     Ingresos operacionales ajustados ($ Millones)




PBF y CITGO no separan el segmento refinación. CITGO indica EBITDA ajustado
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CITGO PETROLEUM CORPORATION
Resultados 2019 – Estado de ganancias y pérdidas 2018 vs. 2019
                ($ MILLONES)                                                                                         2018    2019

                Ingresos
                Ventas Netas                                                                                        29740   25567
                Otros Ingresos                                                                                         29     24
                Total Ingresos                                                                                      29769   25591

                Costos y Gastos
                                                                                                                    25336   22043
                Compra de crudo e insumos
                                                                                                                    2884    2698
                Costos de operación
                                                                                                                      336     339
                Gastos generales, venta y admón.
                Intereses y arrendamiento financiero                                                                  122     185
                Otros gastos                                                                                           -1       3
                Total costos y gastos                                                                               28677   25268

                   Ingresos antes de impuestos                                                                       1092     323
                   Impuestos                                                                                          241     78

                UTILIDAD NETA                                                                                         851    246
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CITGO PETROLEUM CORPORATION
Resultados 2019 – Estado de ganancias y pérdidas 2018 vs. 2019
La utilidad neta en 2019 se redujo en 605 millones de dólares principalmente por:

Menores Ventas en 2019 resultado de las condiciones de mercado (4.2 mil millones de dólares) comparado con
un menor costo de crudos (3.2 mil millones de dólares). El promedio del crudo comprado en 2018 fue de $63.4/bbl
y se redujo a $59/bbl. Sin embargo, esta reducción en costos no fue suficiente para compensar la caída en las
ventas.
Los costos de operación se favorecieron por un menor costo de energía para las refinerías.
Los gastos por intereses se incrementaron al cambiar las facilidades de crédito por un préstamo a plazo de
1.191 millones de dólares, en condiciones de riesgo por no poder renovarlas y bajo situación de sanciones y baja
credibilidad en el mercado.

La reducción en impuesto se debe a menor ingresos antes de impuestos aun cuando la tasa efectiva de impuestos
para el año 2019 fue mayor.

Eventos no recurrentes:

- Pérdida de inventario de crudo de 60 millones de dólares por la toma ilegal y forzosa a bordo del buque Gerd Knutsen
- Eliminación de cuentas por cobrar de reaseguradoras por 30 millones de dólares debido a liquidación de PDVIC.
- Gastos de litigio asociados a fluido hidráulico por 24 millones de dólares
- Recobro costos de litigio Athos por 21 millones de dólares
- Ganancia por liquidación volumen inventario LIFO 31 millones dólares
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             CITGO PETROLEUM CORPORATION
Incremento en capacidad nominal de refinación en 20 mil barriles
       por día y flexibilidad para procesar crudos livianos
   Capacidad nominal de refinación (mil barriles por día)

     REFINERÍAS                                         2019                              ANTES (2005)          CAMBIO

     Corpus Christi                                     167                                            157       +10

     Lake Charles                                       425                                            425        -
     Lemont                                             177                                            167       +10
     Total                                              769                                            749       +20
                                                       Case 1:20-mc-00257-LPS Document 38-1 Filed 04/16/21 Page 39 of 75 PageID #: 1446




 RESULTADOS 2019
 Inversiones y Mantenimiento
Inversiones de capital y Mantenimiento extraordinario¹                                                                              Mantenimiento extraordinario
                                                                                                                                    2019 vs. 2018
$ MILLONES                 2014         2015        2016           2017             2018               2019

Turnaround/Catalizador     278           210          298            282                218               439                       Refinerías      Plantas               2018              2019
                                                                                                                                                                      (MILLONES DE $)   (MILLONES DE $)
Inversión capital          203           333          160           237                237                280
                                                                                                                                                    Choque 1
                                                                                                                                                    ULSD
Total                      481           543          458            519            455                719                                 Lake
                                                                                                                                                    BOH
                                                                                                                                          Charles   Sulfolano
                                                                                                                                                                          117               163
                                                                                                                                                    Unicracker

                                                                                                                                                    #1 FCC
Ejecución de Inversiones por actividad                                                                                                              EP B-SRU
                                                                                                                                          Lemont    Amina Principal        39                56
                                                                                                                                                    ULSD
$ MILLONES                        2018         2019                                                                                                 Cat Reformador

Regulatorio/Ambiental              67          60                                                                                                   C-SRU
                                                                                                                                                    Planta H2
Mantenimiento                     144          170                                                                                        Corpus    Crudo/Sat Gas
Estrátegico                        15          37                                                                                          Cristi   COker
                                                                                                                                                                           62               220
                                                                                                                                                    #5 Platformer
Seguridad/Mitigación Riesgos       11          13                                                                                                   SRU
                                                                                                                                                    MIDHT
Total                             237          280                                                                                                  ULSD

                                                                                                                                          TOTAL                           218              439

¹ Mantenimiento Extraordinario – Turnaround - Parada de Plantas
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CITGO PETROLEUM CORPORATION
Resultados 2019 – Compra de crudos
    COMPRA DE CRUDOS DOMÉSTICOS                          COMPRA DE CRUDOS POR                                                    CRUDO VENEZOLANO
        MILES DE BARRILES DÍA                                   ORIGEN                                                               HISTÓRICO

                                                                                                                                    Miles barriles      % total
                                                                                                                           Año         por día       corrida crudos


                                                                                                                           2019          33               5%

                                                                                                                           2018         177               25 %

                                                                                                            Venezuela 2%
                                                                                                                           2017         154               23 %

                                                                                                                           2016         194               28 %

                                    casi 79% crudo de norteamérica
                                                                                                                           2015         207               29 %


                                    CRUDO IMPORTADO EN REFINERÍAS DE LA COSTA DEL GOLFO (MILLONES BARRILES)
Fuente de crudos 2019: domésticos
de EE. UU., canadienses, y otros
importados.

Crudo venezolano solo durante el
primer trimestre 2019
Incremento de crudo liviano
doméstico en refinerías del golfo



                                        2019                                                                                2020
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CITGO PETROLEUM CORPORATION
Resultados 2019 – Indicadores de seguridad históricos
              Indicador de Seguridad Ocupacional= (0.3 * TRIR) + (0.7* DART + tasa de casos de fatalidad)




2015 a 2019                                         1T 2020                                       TRIR
                                                                                                  YTD
                                                                                                                   DART
                                                                                                                    YTD       2020 a julio 2020
                                                   Empleados                                      0.11              0.00
                                                   Contratistas                                   0.17              0.08
                                                   Combinados                                     0.14              0.05




   En marzo tuvimos un accidente vehicular que resultó en el deceso del contratista
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PROTECCIÓN
DE ACTIVOS
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CITGO COMO OBJETIVO DE ACREEDORES
                                                                                                         Crystallex
                                                                                                         ConocoPhillips
                                                                                                         Préstamo Rosneft




                                                  PDV
                                               Holding, Inc                                                     PDVSA
     Bonos
                                                                                                             Préstamo
     PDVSA 2020
                                                                                                               Rosneft
     50.1%
     Acciones como
                                                                                                        49.9% Acciones
     colateral                                  CITGO                                                   como colateral
                                              Holding, Inc
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PROTECCIÓN DE ACTIVOS
    Control accionario:
      Se negociarion claúsulas para mitigar riesgo de un cambio de control
      accionario

      La renegociación logró condicionarlo: (a) si la participación accionaria
      de PDVSA (directa o indirectamente) llegaba a tener menos del 50%, y
      (b) si una agencia calificadora de riesgo (Moody’s o Standard and
      Poor’s) bajaba la calificación de riesgo de la empresa en un período de
      90 días.

      Adicionalmente, en la facilidad de crédito, se requería que el auditor
      emitiese una opinión “clean”¹ sobre si la empresa seguía siendo una
      empresa en marcha “going concern” y se eliminó.

¹ Esto significa que la opinión del auditor indicaría que los estados financieros representan, de manera razonable, las
operaciones y situación financiera de la empresa y no tiene ningún comentario adicional ni reserva respecto al
funcionamiento de la empresa en el corto plazo.
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PROTECCIÓN DE ACTIVOS

 Apoyo de EE. UU.:

 Se logró obtener una licencia especial de la OFAC para operar
 continuamente por 18 meses, renovables automáticamente
 mensualmente.

 Se logró la emisión y reciente renovación de la Licencia General 5D,
 otorgada por la OFAC para proteger a CITGO de cualquier medida de
 ejecución forzosa (PDVSA 2020).

 El Gobierno de EE. UU. interpuso, a través del Departamento de
 Justicia, el Representante Especial para Venezuela, y la OFAC, su
 opinión ante la Corte de Delaware respaldando las acciones judiciales
 del Gobierno Legítimo de Venezuela en torno a la defensa de CITGO
 (Caso Crystallex).
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GOBERNANZA
CORPORATIVA
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GOBERNANZA CORPORATIVA
La nueva Junta Directiva reconoció que era necesaria una investigación de las
presuntas irregularidades y estableció el mecanismo para su ejecución a fin de:

 Asegurar que no continúen esos posibles actos de corrupción

 Establecer los mecanismos necesarios para establecer las defensas y reclamos
 necesarios que pudiesen generar potenciales litigios en contra de personas que
 pudiesen estar en posibles actos de corrupción

 Estar preparados para interactuar con las autoridades americanas competentes

 Contratar asesores legales que ejecuten las investigaciones, ayuden a encausar las
 acciones frente a las autoridades competentes, y ejerzan las acciones legales que sean
 necesarias.

 Establecer controles internos en la ejecución de contrataciones de bienes y servicios,
 incluyendo experiencias y credenciales técnicas y financieras de las compañías que se
 contratan, en función de los estándares de la industria, y siguiendo los mecanismos de
 transparencia y programas de cumplimiento normativo
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GOBERNANZA CORPORATIVA
Selección del Presidente Ejecutivo de un grupo de 13 candidatos con un historial
de experiencia en la industria de refinación y en petróleo, altos estándares éticos
y conocimiento de las mejores prácticas de gobierno corporativo

Contratación de un asesor externo para revisar los sistemas de control interno y
realizar investigaciones internas, resultando en eliminación de roles como:
vicepresidente de servicios compartidos y servicios de procura para el
accionista

Selección del auditor de CITGO Petroleum Corporation

Establecimiento de sistemas de protección (whistleblower) a los denunciantes
de irregularidades

Capacitación a los empleados en la ley de prácticas corruptas en el extranjero

Asignar la actividad de cumplimiento normativo y ética al vicepresidente de
asuntos legales y gubernamentales

Actualización del código de ética empresarial
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INVESTIGACIONES
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INVESTIGACIONES


 En el momento que la actual Junta Directiva de CITGO Petroleum Corporation
 fue nombrada, se estaban presentando una serie de denuncias de presuntos
 actos de corrupción en contra de CITGO, y en contra de contratistas que hacían
 negocios con la compañía.

 Otros alegatos de presuntos actos de corrupción se denunciaron como
 consecuencia de las investigaciones que el Departamento de Justicia de
 Estados Unidos está ejecutando en contra de PDVSA y sus filiales, desde el año
 2013 a 2018.

 CITGO Petroleum Corporation recibió una citación de parte del Departamento
 de Justicia de Estados Unidos, el 14 de mayo de 2019 (Añade otra capa de
 supervisión al de la OFAC).
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INVESTIGACIONES
 La citación requiere una cantidad de documentación y transacciones ejecutadas
 por la compañía y por PDVSA con terceros desde el año 2013 a 2018.
 Adicionalmente, el Departamento de Justicia envió una segunda citación a la
 compañía el día 17 de diciembre de 2019, solicitando información sobre
 transacciones de seguros cuyo involucrado es la compañía cautiva de PDVSA en
 Bermuda: PDVIC.
 La Junta Directiva está comprometida a colaborar con toda la información que el
 Departamento de Justicia solicite en el marco de la investigación que está
 ejecutando sobre PDVSA y sus filiales.
SHIERA BASTIDAS – RINCÓN FERNÁNDEZ
 En marzo y junio de 2016, Abraham José Shiera Bastidas y Roberto Enrique Rincón
 Fernández se declararon culpables por prácticas de corrupción penadas por el
 FCPA. Se estima que estos individuos están relacionados como contratistas de
 PDVSA y de CITGO, como también de otras filiales de PDVSA dedicadas a la procura
 de bienes y servicios tales como PDV Services, Inc. y Bariven.
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INVESTIGACIONES - ANTECEDENTES

 JOSÉ MANUEL GONZÁLEZ TESTINO Y PLS
 El 14 de marzo de 2014 CITGO y PLS suscribieron un contrato en el cual PLS acuerda proveer
 servicios de procura y logística relacionados con los servicios de procura que prestaba CITGO
 en representación de PDVSA. PLS es una compañía poseída por José Manuel González Testino.

 González Testino se declaró culpable en Estados Unidos por violaciones al FCPA, parte en ello
 por sobornar a diferentes personas en PDVSA/CITGO.

 Entre 2014 y 2018, CITGO pagó a PLS y filiales aproximadamente 20 millones de dólares como
 contratista en diversas transacciones de procura, como parte de los servicios que se prestaban
 en el Proyecto de Procura con el Accionista.

 CITGO, luego de consultar al Departamento de Justicia, decidió demandar a PLS y a González
 Testino por incumplimiento de contrato, fraude, reclamos por indemnización y costos
 relacionados con los incumplimientos de contrato, así como reclamos civiles relacionados con
 la Ley RICO.
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INVESTIGACIONES - ANTECEDENTES

 INTERAMERICAN CONSULTING LLC
 En marzo de 2017, PDV USA, filial de PDV Holding, Inc., suscribió un contrato de consultoría
 con Interamerican Consulting por 50 millones de dólares.

 El dueño de dicha compañía es el excongresista David Rivera.

 La idea de la contratación era que el señor Rivera suministrara servicios de consultoría
 estratégica para mejorar la reputación de PDVSA. Dicha contratación sería por un plazo de
 tres meses, y el monto sería pagadero en 6 partes. Se pagaron 15 millones de dólares,
 quedando por pagar 35 millones de dólares. Esta contratación fue autorizada por PDVSA en
 Caracas.

 Una vez la nueva Junta Directiva tomó control de PDV Holding, Inc., y como parte del proceso
 de investigación que está realizando, y previa consulta con el Departamento de Justicia,
 decidió demandar a Interamerican Consulting por incumplimiento de contrato.
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CITGO PETROLEUM
CORPORATION EN LA
COYUNTURA DEL
COVID-19
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      CITGO PETROLEUM CORPORATION
      Entorno energético COVID-19
      Demanda de productos – En vías de recuperación
EE. UU. Demanda gasolina MMBD      EE. UU. Demanda destilados MMBD                                                    EE. UU. demanda Jet Fuel, MMBD




        La demanda se está recuperando lentamente a medida que los estados han suavizado las
        restricciones. Sin embargo, hay incertidumbre sobre nuevos cierres de la economía
        La gasolina continúa mostrando una mejora en la demanda a medida que las empresas
        vuelven a abrir y los viajes de verano continúan en aumento
        La demanda de destilados se está recuperando pero podría necesitar el impulso continuo en
        el empleo para estimular el consumo
        La demanda de combustible para aviones en EE. UU. está aumentando a un ritmo más rápido
        que el aumento del volumen de pasajeros, debido a la aviación no comercial y de carga
        Fuente: EIA, TSA, ERDC
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     CITGO PETROLEUM CORPORATION
     Entorno energético COVID-19
     Exportaciones desde EE. UU. están mejorando
EE. UU. Exportaciones de gasolina, MBD   EE. UU. Exportaciones de destilados, MBD                                                        EE. UU. Exportaciones de Jet Fuel, MBD




                                                                                                                                         Demanda de productos refinados en Latinoamérica
 Las exportaciones estadounidenses de gasolina y diésel se                                                                       4,350

 recuperaron en junio con la ayuda de la creciente demanda de                                                                    4,100

 América Latina                                                                                                                  3,850




                                                                                                                  Thousand b/d
 El aumento de las exportaciones hizo poco para frenar las                                                                       3,600

 crecientes existencias en la Costa del Golfo. El exceso continúa                                                                3,350

 forzando el almacenamiento de productos en los buques en alta                                                                   3,100

 mar.                                                                                                                            2,850


 La baja utilización de las refinerías (~ 50%, 12% a/a) en América                                                               2,600
                                                                                                                                          Ene   Feb   Mar   Abril   Mayo   Jun   Jul   Agos   Sep   Oct    Nov   Dic


 Latina también ha contribuido al aumento de las importaciones.                                                                                        5 year max-min                    2020
                                                                                                                                                       2019                              2018
                                                                                                                                                       2021 forecasted                   2020 forecasted



   Fuente: EIA, IHS
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CITGO PETROLEUM CORPORATION
Resultados 1er Trimestre 2020 - Refinerías
Margen bruto $/bbl                                                            Desembolso en gastos operacionales $/bbl




Total procesamiento miles de barriles día                                     EBITDA. $MM


        41 8   365




                      1 97   204          189     195
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CITGO PETROLEUM CORPORATION
Resultados 1er trimestre 2020
Estado de Ganancias y Pérdidas 1T 2019 vs. 1T 2020
              ESTADO DE GANANCIAS Y PÉRDIDAS                                                                         1ER TRIMESTRE


                ($ MILLONES)                                                                               2019          2020

                Ingresos
                Ventas netas                                                                               6012           4971
                Otros ingresos                                                                                  4           10
                Total ingresos                                                                             6016          4981

                Costos y gastos
                Compra de crudo e insumos                                                                 5278           4280
                Costos y gastos de operación                                                                   718        997
                Gastos generales, venta y admin.                                                               72           85
                Intereses                                                                                       31          49
                Otros gastos                                                                                     1        -173
                Total costos y gastos                                                                      6100          5238

                Ingresos (pérdidas) antes de impuestos                                                         -84        -257
                Impuestos                                                                                      -17         -98

                Utilidad neta                                                                                  -67        -159
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CITGO PETROLEUM CORPORATION
Resultados 1er trimestre 2020
Estado de Ganancias y Pérdidas 1T 2019 vs. 1T 2020
La utilidad neta en el 1er trimestre de 2020 se redujo en 92 millones de dólares debido a:
 Disminución de los ingresos en casi 1000 millones de dólares debido a una caída de casi 20% en
 los precios de venta de los productos que no se compensó completamente con el incremento de
 volumen de ventas en ~ 4%
 En el costo de compra de crudo e insumos se observa un ahorro por los bajos precios de crudo
 debido al desacuerdo Rusia y OPEP en los cortes de producción de crudo. El precio promedio
 para el 1er trimestre de 2019 fue de $57/barril y el 1er trimestre 2020 fue de $45.9/barril

 Cuatro eventos no recurrentes como:
  - Ajuste por 332 millones de dólares en el valor de los inventarios al reflejar el menor valor
     del mercado vs. su valor en libros
  - Ingreso de 172 millones de dólares por recuperación de los gastos en el litigio del Athos
  - Beneficio fiscal de 48 millones de dólares por CARES ACT (Coronavirus Aid Relief and
     Economic Stability)
  - Recobro de gastos de litigios por 19 millones de dólares
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    CITGO PETROLEUM CORPORATION
    Resultados 1er Trimestre 2020
    Un trimestre de pérdidas en el negocio de refinación
                                                                                          Holly                     Citgo
           Valero     Delek        PBF   Phillips 66           Marathon                  Frontier                 Petroleum
    0


 -1000                    -314                                                                                           -159

                                                                                             -305
                                 -1063
-2000

            -1851
-3000                                     -2496
                                                                                                                                La industria de
-4000
                                                                                                                                refinación en Estados
                                                                                                                                Unidos fue afectada
-5000                                                                                                                           fuertemente durante
-6000
                                                                                                                                el primer trimestre.
                                                                                                                                Pérdidas ocasionadas
-7000                                                                                                                           por:
-8000                                                                                                                            Menos volumen y
                                                                                                                                menor precio
-9000


                                                                   -9232
                                                                                                                                  Revalorización de
-10000
                                                                                                                                inventarios
         Pérdidas netas
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             CITGO PETROLEUM CORPORATION
RESULTADOS - 1er Trimestre 2020 – Un trimestre de pérdidas en el negocio
de refinación y CITGO tiene un EBITDA ajustado de 38 millones de dólares

                                                                                                             Así mismo, para el caso del
                                                                                                             EBITDA ajustado que
                                                                                                             permite deducir o no incluir
                                                                                                             eventos no recurrentes
                                                                                                             como lo fueron pérdidas
                                                                                                             por ajustar el inventario a
                                                                                                             valor de mercado y
                                                                                                             pérdidas por minusvalía.

                                                                                                             Aún tres empresas siguen
                                                                                                             presentando pérdidas. En
                                                                                                             el caso de CITGO su EBITDA
                                                                                                             ajustado es de 38 millones
                                                                                                             de dólares.
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FINANCIAMIENTO
2020
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FINANCIAMIENTO 2020
      OBJETIVOS
     Refinanciamiento de deuda a plazo de CITGO Petroleum Corporation, con fecha
     de vencimiento julio 2021¹

     Reforzar liquidez de la empresa de cara a las amenazas de mercado originadas
     por el COVID-19

    2800


    2400


    2000
                                                                                                                                    HoldCo
                                                                                                                                    Bonds
                                                                                                                                    $1,370
    1600


     1200
            AR $320     HoldCo
                        Bonds                                                                                                       OpCo
     800                $1,870                                                                                                               OpCo
                                                                                                                                     TLB
                                                                                                                                    $1,083   Bonds
                                                                                                                       Industrial
                                                                                                                                             $1,125
     400    Resolver                OpCo TLB                     OpCo                                                   Revenue
                                                                                           HoldCo
             $900                                                Bonds                                                   Bonds.
                                       $614                                                 TLB
                                                                  $650
                                                                                            $500
       0

             2019         2020         2021                        2022                     2023                        2023+        2024     2025



¹ Si se refinancia cuando se convierte en corriente (menor a 12 meses), incrementa el riesgo de que el mercado
considere que la empresa tiene problemas para seguir operando como empresa en marcha “going concern”
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                                 FINANCIAMIENTO 2020
Ante la incertidumbre del COVID-19 para 2020 y los resultados financieros del 1T 2020, muchas
empresas del sector energético de EE. UU. recurrieron al financiamiento. El objetivo era tener
liquidez para cubrir sus operaciones durante el resto del año 2020.
US $ MIL MILLONES                                                         US $ MIL MILLONES POR FECHA



                                                                              14


                                                                               12


                                                                               10


                                                                               8


                                                                               6


                                                                               4


                                                                                2


                                                                               0




                                                                                      13/01/2020


                                                                                                   24/01/2020

                                                                                                                27/01/2020

                                                                                                                             04/02/2020

                                                                                                                                          17/03/2020

                                                                                                                                                       19/03/2020

                                                                                                                                                                    13/04/2020

                                                                                                                                                                                 15/04/2020

                                                                                                                                                                                              16/04/2020

                                                                                                                                                                                                           27/04/2020

                                                                                                                                                                                                                        09/04/2020

                                                                                                                                                                                                                                     11/05/2020

                                                                                                                                                                                                                                                  13/05/2020

                                                                                                                                                                                                                                                               19/05/2020

                                                                                                                                                                                                                                                                            20/05/2020

                                                                                                                                                                                                                                                                                         10/06/2020

                                                                                                                                                                                                                                                                                                      05/07/2020
Fuente: Bloomberg
enero - junio 2020   Colocación de deuda por 55 mil millones de dólares de algunas
                     empresas seleccionadas del sector energético en 5 meses
                                                 Case 1:20-mc-00257-LPS Document 38-1 Filed 04/16/21 Page 65 of 75 PageID #: 1472




                                     FINANCIAMIENTO 2020
                            CITGO accede al mercado financiero en junio
Éxito en la colocación privada de notas garantizadas por 1.125 millones de dólares al 7% con madurez 2025
CITGO Petroleum Corporation, considerado en el mercado como
un emisor corporativo, coloca notas garantizadas con dos                                                    TASA DE INTERÉS VS. CALIFICACIÓN DE RIESGO
reconocidas bancas de inversión¹
                                                                                          11.00%
Se identifica una ventana de oportunidad que permite a CITGO
Petroleum Corporation tasas de interés significativamente más                             10.00%

bajas (7%) que otras emisiones de similar calificación de riesgo
                                                                                          9.00%
que CITGO Petroleum Corporation
Fortaleza de CITGO Petroleum Corporation en el mercado lleva a                            8.00%

una sobredemanda y logra una emisión mayor a la originalmente
                                                                                          7.00%
solicitada de 750 millones de dólares para permitir a CITGO
Petroleum Corporation suficiente liquidez para cubrir la caída en                         6.00%

las ventas y cumplir sus obligaciones financieras y comerciales
por los efectos del COVID-19                                                              5.00%


Participación de 149 inversionistas institucionales. El 80% de la                         4.00%
                                                                                                              BB+                   BB            BB-                B+       B       CCC+
colocación se efectuó con Fondos de Inversión grandes y
altamente reconocidos                                                                                     Simple Average Based on Number of Issuances in Credit Rating    CITGO


Competidores equiparables en industria de refinación en EE. UU.                                                                                            Fuente: Bloomberg- Período I SEM 2020
colocan 1.000 millones de dólares a 9 1/4%
¹ JP Morgan y Jefferies
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FUNDACIÓN
SIMÓN BOLÍVAR
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¿QUÉ ES LA FUNDACIÓN SIMÓN BOLÍVAR?
La Fundación se estableció en el año 2006, como fundación privada sin fines de lucro de
CITGO.
Está registrada en Delaware, Estados Unidos, y su único miembro y contribuyente es CITGO.
Está sujeta a leyes federales y estadales en EE. UU., auditorías y controles por parte de
autoridades (IRS), auditorias internas de CITGO, y auditorías externas anualmente.

Sus donaciones deben ser con fines estrictamente caritativos – por ley. Sujeta a
regulaciones especiales que prohiben proselitismo político.

La Fundación debe seleccionar sus beneficiarios de forma neutral, sin ingerencia externa.
Está prohibido que autoridades de PDVSA, CITGO y otros entes públicos venezolanos, o sus
familiares –que puedan influenciar las decisiones de la Fundación– reciban subvenciones de
la misma.

La Fundación tiene la obligación de reportar anualmente sus actividades al IRS, incluyendo:
(i) detalles de los programas financiados, (ii) entes beneficiados con donaciones y (iii)
montos de las donaciones. Esta información es pública.
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                           FUNDACIÓN SIMÓN BOLÍVAR
La Fundación ha estado trabajando para definir procesos a fin de mitigar los riesgos a los cuales está
expuesta una fundación en Estados Unidos, cuando otorga donaciones, a través de tres elementos claves:
1. Due dillgence o debido proceso: evaluación del eventual beneficiario de la donación, incluyendo su
capacidad financiera, capacidad de ejecución, personal clave, cuentas de banco, etc. Proceso de selección
de beneficiarios en dos etapas, (i) evaluación preliminar de todas las organizaciones que aplican a
procesos, y (ii) evaluación exhaustiva a las organizaciones seleccionadas.
2. Acuerdo de subvención sólido:
Cláusulas específicas que obligan al beneficiado a cumplir con leyes de EE. UU. en cada área, incluyendo:
- Corrupción - Foreign Origen Corrupt Practice Act (FCPA)
- Evaluación de subcontratistas o terceras partes con su debido proceso
- Conflicto de intereses
- Lavado de dinero
- OFAC (Sanciones)
- Alcance claramente definido, y la obligación de devolver los fondos si no son usados para ese fin.
- Métricas de ejecución, presupuesto y plan de trabajo, con alcance especifico, y reportes de progreso y de
finalización de proyecto.
3. Derecho a auditoria, hasta dos años después de terminado
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                       FUNDACIÓN SIMÓN BOLÍVAR
                                 Esfuerzos ante el COVID-19

 621.024                 15.000                                 >10.845
                                                           Profesionales de la salud
                                                                                                                                >257                 33
Dólares adjudicados   Comidas servidas/mes                                                                            Comedores o centros     Hospitales favorecidos
                                                                 beneficiados                                        comunitarios asistidos




Áreas                                                                                  Territorio Impactado
                                                         Case 1:20-mc-00257-LPS Document 38-1 Filed 04/16/21 Page 70 of 75 PageID #: 1477




                                    FUNDACIÓN SIMÓN BOLÍVAR – 2020
Nueva Visión: “Un futuro donde el acceso a la atención médica básica sea                    Programa de Salud Humanitaria: Fondo de Respuesta de
un derecho humano valorado”.                                                                Emergencia COVID-19:
Pacientes:                                                                                  - 145.000 dólares adjudicados en 7 programas para proporcionar
- Desde su creación, el 90% de su presupuesto ha estado dedicado a la                       ayuda inmediata a mitigar el COVID-19 en Venezuela: EPP,
atención de los pacientes con enfermedades graves tratados en el exterior.                  higiene y conectividad.
- 25 pacientes activos, identificando potenciales organizaciones con los
                                                                                            Transferencia de Conocimientos y Formación de
cuales podamos establecer acuerdos, que beneficien no solo a nuestros
                                                                                            Capacidades:
pacientes, sino a muchos más.
                                                                                            - 5 webinars hasta la fecha. Los últimos “Creciente Crisis
Programa de Pequeñas Subvenciones:                                                          Humanitaria debido al COVID-19” y “Cardiología y COVID-19” con
- Enero: 100.000 dólares - 6 subvenciones para programas de ayuda en                        Baylor College of Medicine.
Venezuela, Colombia y Ecuador.                                                              - Entrenamiento a través del PADF al personal de la Fundación y
COVID-19: 475.000 dólares aprobados para apoyar a 15 programas para                         a los beneficiarios sobre el ciclo de proyectos y salud
mitigar la pandemia en Venezuela.                                                           humanitaria.

   La Fundación está en fases avanzadas en dos procesos a la fecha:
   Hoy Invita Simón: Programa de pequeñas subvenciones para ayudar a la diáspora venezolana en EE. UU. con programas de
   comida
   Programa de Subvenciones Medianas / Grandes en Salud Humanitaria: Organizaciones internacionales humanitarias con
   programas de nutrición, suministro de medicinas crónicas, y atención médica y de emergencia.

   Programas en planificación:
   -Subvenciones Medianas y Grandes en Salud Humanitaria: medicinas crónicas, nutrición y alimentación,
   Nuevas oportunidades para llevar más ayuda humanitaria, apoyar la formación de competencias en Venezuela, y para
   apoyar a la diáspora Venezolana.
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EL ROL DE LA
INDUSTRIA PETROLERA
Y GASÍFERA NACIONAL
EN LA RECUPERACIÓN
DE VENEZUELA
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PLAN PAÍS
                                                                                                           Julio 16, 2020




Venezuela Petróleo y Gas
Una Visión del Futuro
La Junta Administradora ad hoc de PDVSA ha venido participando, desde su
incepción, en colaboración con la Comisión Permanente de Energía y Petróleo, en la
estructuración de la recuperación del sector petrolero y gasífero, dentro del marco
de Plan País.
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PLAN PAÍS
 La búsqueda del Consenso                                                                                           Una visión del futuro... si tenemos la oportunidad

                                                                                                                                                                                                                                      3,5



  Grupos                               Grupos
Técnicos en                          Técnicos en                Diagnóstico                                                                                                                                                            3



 Venezuela                            el exterior               Plan técnico posible                                                                                                                                                  2,5

                                                                Identificar
                                                                oportunidades de                                                                                                                                                       2



                 Multilaterales                                 mercado                                                                                                                                                               1,5
                                                                Implicaciones
                                                                financieras para la                                                                                                                                                     1

                                                                recuperación de la
                                                                economía
                                                                                                                                                                                                                                      0,5



                                                                Diseño de cambios                                                                                                                                                      0

                                                                institucionales
                                                                Comunicar
                                                                Adaptar

                                                                                                                      Clara separación de funciones y roles: Establecer Políticas (MEM)
                                                                                                                      Regulación (AVH) y operación (PDVSA y otros)
                                                                             Gobierno                                 Inversión privada (nacional y extranjera) participa en todas las fases de la
                Ayuda
            Internacional                                                    Nacional                                 cadena de valor del sector de los hidrocarburos.
                                                                                                                      PDVSA se reduce (¿?) obligada por limitaciones impuestas por capacidad
                                               ($)
                                                                                                                      operacional y financiera.
            Apertura de la                                   (Bs)
                IPGN                                                   ($)          (Bs)                              Promoción del Desarollo industrial alrededor del sector de Petróleo y Gas.
                                     (Bs)
 Petróleo
  y Gas             ($)      ($)
                                                                                                                      Personal fuera de PDVSA representa un capital semilla de conocimiento
                                                                                                                      para empresas Venezolanas/extranjeras.
                               ($)                              (Bs)
             Resto del                  Economía doméstica
                                                                             Hogares
              mundo                         no petrolera                                                          Adaptado de:
                                                                                                                  http://regulationbodyofknowledge.org/a-narrative-developing-and-improving-infrastructure-regulation-in-fragile
                             BIENES                           BIENES                                              -and-conflict-affected-states/revitalizing-and-reforming-regulatory-governance-for-infrastructure-in-post-fcv-env
                                                                                                                  iroments/principles-for-the-governance-of-regulators/
                                                             SALARIOS
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                    CONCLUSIONES FINALES

La Junta Administradora ad hoc de PDVSA ha sido exitosa hasta ahora en la defensa
de sus activos principales: PDV Holding, Inc., CITGO Holding, Inc. y CITGO Petroleum
Corporation

Los principales litigios en EE. UU. están en sus etapas finales y somos optimistas de
sus desarrollos. Sin embargo, en un escenario negativo se enfrentarían retos
importantes de negociación que pueden involucrar dilución en los activos.

El progreso a la fecha se debe –en gran medida– al trabajo en equipo con la
Procuraduría Especial de la República, la representación diplomática de Venezuela
y el apoyo de PDV Holding, Inc. y sus filiales.

La limitación de recursos financieros y humanos impone severas restriciones a la
actuación de la Junta Administradora ad hoc.
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¡GRACIAS!
